                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )   CASE NO. 3:13-00125
                                                 )   JUDGE SHARP
MAX P. ANDOLSEK                                  )

                                           ORDER


         The hearing scheduled for October 28, 2014, is hereby continued. A status conference is

scheduled for Monday, December 22, 2014, at 10:00 a.m.

         It is so ORDERED.



                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00125      Document 48       Filed 10/28/14     Page 1 of 1 PageID #: 135
